                         UNITED STATES DISTRICT COURT

                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

       Plaintiff,

       v.

TEODORO MERAZ,
ANDREW R. OBLAK,                                                       Case No. 06-Cr-335
ANA HURTADO,
ANTONIO CRUZ,
JOSE MERAZ,
PEDRO ROMO,
FIDEL MORENO and
RICHARD WELSH,

       Defendants.


                    MAGISTRATE JUDGE'S RECOMMENDATION TO THE
                            HONORABLE LYNN ADELMAN
                       REGARDING DEFENDANT FIDEL MORENO



                                       NATURE OF CASE

       On December 14, 2006, a federal grand jury sitting in this district returned a three-count

indictment against defendants Teodoro Meraz, Andrew R. Oblak, Ana Hurtado, Antonio Cruz,

Jose Meraz, Pedro Romo, Alejandro Romo, a/k/a “El Caballo,” Fidel Moreno and Richard

Welsh. The defendants are all charged in Count One with conspiracy to distribute five

kilograms or more of a mixture containing cocaine, a Schedule II controlled substance, in

violation of 21 U.S.C. § 846, § 841(b)(1)(A)(ii) and 18 U.S.C. § 2. Three of the defendants are

named in the substance drug counts charged in Counts Two and Three. The indictment also

contains a forfeiture provision.


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       Defendant Fidel Moreno appeared before United States Magistrate Judge Aaron E.

Goodstein for arraignment on December 15, 2006, entering a plea of not guilty. Pursuant to

the pretrial scheduling order issued at that time, he has filed a motion to suppress statements.

(Docket #83). This motion will be addressed herein.

                           MOTION TO SUPPRESS STATEMENT

       On May 23, 2007, the court conducted an evidentiary hearing on defendant Moreno's

motion to suppress his statement. At the hearing, Special Agent Johnny Santiago of the

Wisconsin Department of Justice, Division of Criminal Investigation (DCI), testified on behalf

of the government. Defendant Moreno testified on his own behalf. Based on the evidence

presented at the hearing, the court makes the following findings of fact.

                                      Findings of Fact

       On December 1, 2006, the defendant was in custody in the office of the Wisconsin

Department of Justice in Milwaukee, Wisconsin. At that time DCI Special Agent Thomas

Gorecki was involved in an ongoing narcotics investigation and wanted to interview the

defendant. DCI Special Agent Johnny Santiago was called in to advise the defendant of his

constitutional rights in Spanish. Special Agent Santiago is fluent in Spanish.

       Special Agent Santiago, who was unarmed and dressed in street clothes, entered the

interview room which was located in an office area containing desks, computers and copiers.

The defendant and Special Agent Gorecki, who was in plain clothes and unarmed, and the

defendant were in the room. The defendant was not in handcuffs at the time.

       According to Special Agent Santiago, he identified himself to the defendant and advised

him as to the reason he had been taken into custody. Special Agent Santiago testified that he



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advised the defendants of his constitutional rights in Spanish. He testified that after he stated

each right, he stopped, asked the defendant if he understood that right and waited for the

defendant to respond verbally as to whether or not he understood the right. The defendant

indicated that he understood each right. Special Agent Santiago testified that the defendant

did not ask to have an attorney present or indicate that he did not want to be interviewed. He

also stated that the defendant made no requests of him and did not ask for any clarifications.

The defendant answered the questions appropriately and was calm, cooperative and quiet.

       Special Agent Santiago made no promises to the defendant or threatened him in any

way. Special Agent Santiago also testified that the defendant answered questions in English

which were posed in English by Special Agent Gorecki.

       According to Special Agent Santiago, Special Gorecki took notes of the defendant’s

statements during the interview, but no written interview statement was made. Therefore, the

defendant was not provided an opportunity to sign any written statement.

       Special Agent Santiago had never spoken to the defendant before the interview or

listened in on any recorded telephone conversations. He was not aware of any prior law

enforcement contact with the defendant. The interview was not videotaped. Special Agent

Santiago acknowledged that the agents could have taped the interview.

       The defendant testified that he was born in Mexico and moved to Bakersfield, California

with his family when he was about age nine or ten. He attended school in Bakersfield for two

to three years. The classes were taught in English, but there was a translator available. He

also attended school in Milwaukee for one year and, according to the defendant, the classes

were taught in Spanish. He has had no other schooling.



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       The defendant had no police contact before December 1, 2006. He was not aware

before December 1, 2006, of his rights to remain silent and not to speak to law enforcement

officers without a lawyer present. He also testified that he did not know that he was entitled to

have an attorney appointed to represent him and that the attorney could be present at any

interview.

       According to the defendant, Special Agent Santiago came to the interview room, stood

in the doorway and spoke to Special Agent Gorecki in English. Agent Santiago then left. The

defendant testified that he did not understand anything that Special Agent Santiago said to

Special Agent Gorecki.

       The defendant testified that Special Agent Santiago never advised him of his rights in

either English or Spanish. He said that no one advised him of his constitutional rights. He

denied speaking with Special Agent Santiago in Spanish and also said that Special Agent

Santiago was not present when Special Agent Gorecki asked him questions. According to the

defendant, only Special Agent Gorecki spoke to him on December 1, 2006.

       The defendant testified that he told Special Agent Gorecki that he had used the alias,

Daniel Martinez, as his name for work and that he was in the country illegally for nine years.

He also told him that he has a Cadillac and a Ford Explorer and worked at Mid City Foundry

until he was laid off. The defendant provided this information to Special Agent Gorecki when

he was interviewed.




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                                                   Analysis

       In moving to suppress his statements, the defendant asserts that his waiver of his

Miranda1 rights was not voluntary because he was not advised of his rights in Spanish. The

defendant asserts that he does not speak or understand English. In addition, the defendant

asserts that any waiver of his rights was not valid because he lacked the awareness of both

the nature of the right being abandoned and the consequences of the decision to abandon that

right. At the hearing, the defendant testified that he was not advised of his rights in either

English or Spanish. The government opposes the defendant’s motion.

       The Fifth Amendment privilege against self-incrimination and the Sixth Amendment right

to counsel require police to follow certain procedural safeguards during custodial interrogations

of a suspect. Miranda, 384 U.S. at 436. In this case, there is no dispute that the defendant

was in custody at the time he was questioned by law enforcement officers. Thus, the issues

before the court are whether the defendant was advised of his Miranda rights and, if so, did he

knowingly and voluntarily waive his rights.

       At the core, the defendant’s motion to suppress presents a credibility issue. The

defendant states that he was not advised of his constitutional rights before he was questioned

by DCI special agents. His testimony is directly contradicted by Special Agent Santiago who

testified that he advised the defendant of his rights in Spanish before the defendant was

interviewed. The court finds Special Agent Santiago’s testimony on this issue credible.

       Special Agent Santiago testified clearly and unhesitatingly. He is an experienced law

enforcement officer and, under the circumstances, he had no motive to lie. The defendant



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           Miranda v. Arizonia, 384 U.S. 436 (1966).

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acknowledged that Special Agent Santiago came to the interview room, but he testified that the

agent left after briefly speaking to Special Agent Gorecki. Given Special Agent Santiago’s

presence and the defendant’s limited or nonexistent knowledge of English, it would make no

sense for Special Agent Gorecki to jeopardize his investigation by failing to have Agent

Santiago advise the defendant of his constitutional rights in Spanish.

       The defendant’s testimony, on the other hand, raises certain questions. He testified that

he did not understand the conversation between Special Agents Santiago and Gorecki who

were speaking in English. He also testified that Special Agent Gorecki was the only agent who

asked him questions on December 1, 2006. Special Agent Gorecki does not speak Spanish

which is the reason Special Agent Santiago was asked to advise the defendant of his rights.

The defendant also acknowledged that he provided information to Special Agent Gorecki

during the interview, including that he was illegally in this country. The defendant also testified

that he used an alias at his job.

       Accordingly, the court concludes that the defendant was advised of his Miranda rights

before he was questioned by the special agents on December 1, 2006. The court must now

determine whether the defendant voluntarily waived those rights.

       It is well-established that a statement is not “compelled” within the meaning of the Fifth

Amendment if an individual “voluntarily, knowingly and intelligently” waives his constitutional

privilege. Miranda, 384 U.S. at 444. “The inquiry whether a waiver is coerced ‘has two distinct

dimensions.’” Colorado v. Spring, 479 U.S. 564 (1987) (quoting Moran v. Burbine, 475 U.S.

412, 421 [1986]). As the Court explained in Moran:

       First the relinquishment of the right must have been voluntary in the sense that
       it was the product of a free and deliberate choice rather than intimidation,
       coercion, or deception. Second, the waiver must have been made with a full

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       awareness both of the nature of the right being abandoned and the
       consequences of the decision to abandon it. Only if the 'totality of the
       circumstances surrounding the interrogation' reveal both an uncoerced choice
       and the requisite level of comprehension may a court properly conclude that the
       Miranda rights have been waived.

475 U.S. at 421 (internal citations omitted).

       To determine whether a defendant voluntarily consented to waive his rights, the court

must inquire whether, under the totality of the circumstances, law enforcement officers have

overborne the will of the accused. Haynes v. State of Wash., 373 U.S. 503, 513-14 (1963);

Schneckloth v. Bustamonte, 412 U.S. 218, 226 (1973). The court in Schneckloth detailed the

factors to be considered when evaluating whether a defendant's "will was overborne" in the

giving of statements:

       [T]he Court has assessed the totality of all the surrounding circumstances - both
       the characteristics of the accused and the details of the interrogation. Some of
       the factors taken into account include the youth of the accused, his lack of
       education, or his low intelligence, the lack of any advice to the accused of his
       constitutional rights, the length of detention, the repeated and prolonged nature
       of the questioning, and the use of physical punishment such as the deprivation
       of food or sleep.

412 U.S. at 226 (internal citations omitted).

       Thus, a confession is voluntary if "the government demonstrates that under the totality

of the circumstances and by a preponderance of the evidence that 'it is not secured through

psychological or physical intimidation but rather was the product of a rational intellect and free

will.'" United States v. Montgomery, 14 F.3d 1189, 1194 (7th Cir. 1994) (quoting United States

v. Haddon, 927 F.2d 942, 945 [7th Cir. 1991]); see also, United States v. Dillon, 150 F.3d 754,

757 (7th Cir. 1998). Thus, a court may properly conclude that the Miranda rights have been

waived by a defendant only if the “totality of the circumstances surrounding the interrogation”



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reveals both an uncoerced choice and the requisite level of comprehension. Moran, 475 U.S.

at 421.

       Special Agent Santiago testified that he did not threaten the defendant or make him any

promises when he advised him of his Miranda rights. He stated each right in Spanish and then

asked the defendant if he understood that right. He waited for the defendant’s verbal

affirmation that he understood the right before continuing with the advice of rights in Spanish.

       The defendant has limited formal education, but there is no evidence that the defendant

lacked the capacity to understand his rights. The defendant was not handcuffed in the

interview room and neither Special Agent Santiago nor Special Agent Gorecki were armed.

There is no evidence that the defendant was subjected to physical punishment in order to get

him to waive his rights.

       Considering the totality of the circumstances, the court concludes that the defendant

voluntarily waived his Miranda rights and was not coerced into providing a statement to the

agents. Miranda and its progeny are designed to protect criminal defendants from coercive

police tactics which would produce involuntary confessions. They afford no protection to

criminal defendants who, of their own volition, decide to make statements or otherwise

cooperate with authorities.

       In sum, the defendant was properly advised of his Miranda rights prior to questioning.

He was not coerced into giving a statement to law enforcement officers. Therefore, the court

will recommend that the defendant’s motion to suppress his statement be denied.




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                                         CONCLUSION

       NOW, THEREFORE, IT IS HEREBY RECOMMENDED that the United States district

judge enter an order denying defendant Fidel Moreno’s motion to suppress statements.

(Docket #83).

       Your attention is directed to 28 U.S.C. § 636(b)(1)(A) and General Local Rule 72.3 (E.D.

Wis.), whereby written objections to any recommendation herein or part thereof may be filed

within ten days of service of this order. Objections are to be filed in accordance with the

Eastern District of Wisconsin's electronic case filing procedures. Courtesy paper copies of any

objections shall be sent directly to the chambers of the district judge assigned to the case.

Failure to file a timely objection with the district court shall result in a waiver of your right to

appeal.

       Dated at Milwaukee, Wisconsin this 6th day of June, 2007.

                                                          BY THE COURT:


                                                              s/ Patricia J. Gorence
                                                          PATRICIA J. GORENCE
                                                          United States Magistrate Judge




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